ARMIN A. SCHLESINGER, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Schlesinger v. CommissionerDocket No. 13728.United States Board of Tax Appeals11 B.T.A. 601; 1928 BTA LEXIS 3761; April 16, 1928, Promulgated *3761  The Lake School for Girls was during the year 1920 a corporation organized and operated exclusively for educational purposes.  A contribution of $5,000 made thereto in 1920 by the petitioner is an allowable deduction from gross income.  Charles F. Fawsett, Esq., and Richard Doyle, Esq., for the petitioner.  C. W. Stark, Jr., Esq., and J. E. Marshall, Esq., for the respondent.  ARUNDELL*601  This proceeding involves a deficiency in income tax for the year 1920 in the amount of $1,714.24, resulting from the disallowance by the respondent as a deduction from gross income of the sum of $5,000 donated to the Lake School for Girls of Milwaukee, Wis.  FINDINGS OF FACT.  The petitioner is a resident of Milwaukee, Wis.  During the year 1920 he contributed the sum of $5,000 to the Lake School for Girls, a corporation organized under the laws of Wisconsin on June 8, 1920.  Sections II and IV of the articles of organization of the corporation read as follows: The purpose for which this corporation is organized are as follows: To establish, conduct and maintain a school or schools in the County of Milwaukee, Wisconsin, where students may obtain, *3762  upon such terms as may be determined, a general education, with particular reference to fitting and preparing girls morally, mentally and physically for higher education in high schools, colleges and universities, and incidental to such general purpose to acquire, own, improve and maintain real estate and interests therein, together with such buildings, fixtures and equipment as may be necessary or desirable; to buy, sell, hold and deal in stocks, bonds and securities of various kinds, to borrow money and to secure the payment of the same by mortgage or lien upon its real estate and other property; and generally to do all and everything lawful and proper which may be necessary or expedient for the accomplishment of any of the purposes or the attainment of any of the objects in furtherance of any of the powers herein set forth.  The said corporation is formed and organized without capital stock, and no dividend or pecuniary profit shall be declared or paid to the members thereof.  *602  Funds necessary to start the school were raised by gifts from parents who had, or within a few years would have, children old enough to attend the school.  Within a few weeks after the organization*3763  of the corporation, it acquired a building at a cost of $42,000 and proceeded to remodel it for school purposes and engaged a principal and faculty for the school.  Twenty-seven thousand dollars was paid on the purchase price of the site from funds raised through donations and a mortgage was given for the balance of $15,000.  The mortgage has not been paid off but has been renewed from time to time as it matured.  Since the establishment of the school it has been operated continuously each year, except during summer vacation periods, for the education of girls, mentally, morally and physically; it has not engaged in any other form of business and it has not paid any dividends or distributed any profits to any stockholder or other member of the corporation, or paid any compensation to its board of trustees for their services.  Its income in 1920 was, and since then has been, derived from tuitions, ranging from $100 to $250 per year per student, depending upon the grade for which the child is enrolled, charged for instruction.  Any child of good moral character, whose parents are able to pay the tuition charged, is eligible to membership in the school.  In several instances the tuition*3764  was remitted.  Since its organization the corporation has accumulated a surplus of $13,000 which it invested in bonds.  Outside of the purchase of these bonds, it has never engaged in the business of buying and selling of stocks and bonds.  During the year 1920 the Lake School for Girls was a corporation organized and operated exclusively for educational purposes, no part of the net earnings of which inured to the benefit of any private stockholder or individual.  The amount of $5,000 contributed by the petitioner to the corporation in 1920 is, together with other such gifts, not in excess of 15 per cent of his net income computed without the benefit of section 214(a)(11) of the Revenue Act of 1918.  OPINION.  ARUNDELL: From all of the evidence we are convinced that during the year 1920 the Lake School for Girls was a corporation organized and operated exclusively for educational purposes and that no part of its net earnings inured to the benefit of any stockholder or individual.  We are therefore of the opinion that the contribution of $5,000 made by the petitioner to the corporation in the year 1920 is a proper deduction from his gross income for that year, under section*3765  214(a)(11) of the Revenue Act of 1918.  Judgment of no deficiency will be entered.